     Case 1:09-cr-00006-LJO-SKO Document 31 Filed 07/15/09 Page 1 of 2


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 4
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     JAIME LEON ZAMORA
 6
 7
 8                                                 UNITED STATES DISTRICT COURT
 9                                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                          CASE NO. 1:09-cr-00006-LJO
                                         )
12               Plaintiff,              )
                                         )                          STIPULATION TO CONTINUE
13                                       )                          SENTENCING SCHEDULE AND
     vs.                                 )                          HEARING; ORDER
14                                       )
                                         )
15   JAIME LEON ZAMORA,                  )                          Date: September 25, 2009
                                         )                          Time: 9:00 A.M.
16               Defendant.              )                          Judge: Hon. Lawrence J. O’Neill
                                         )
17   ____________________________________)
18               IT IS HEREBY STIPULATED by and between the parties hereto through their
19   respective counsel, MARK CULLERS, Chief Assistant United States Attorney, counsel for
20   Plaintiff, and CAROL ANN MOSES, Attorney of Record for Defendant, JAIME LEON
21   ZAMORA, that the sentencing schedule in the above-referenced matter be revised as follows: the
22   Presentence report now due July 10, 2009, shall be due August 7, 2009; informal objections to
23   the Presentence Investigation Report now due July 31, 2009, shall be due August 21, 2009;
24   formal objections to the Presentence Investigation Report now due August 14, 2009, shall be due
25   September 14, 2009; and the sentencing hearing now scheduled for August 21, 2009, may be
26   continued to September 25, 2009, at 9:00 A.M.
27               Defendant seeks this continuance because the Probation Officer has advised counsel that
28   he will require additional time for preparation of the Presentence Report because there are

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     Case 1:09-cr-00006-LJO-SKO Document 31 Filed 07/15/09 Page 2 of 2


 1   unresolved questions regarding restitution amounts. The requested continuance will allow
 2   sufficient time to complete preparation of the Presentence Investigation Report and will allow
 3   adequate time for review and any relevant objections/replies to the Presentence Report prior to
 4   the sentencing hearing. The continuance will conserve time and resources for all parties and the
 5   court.
 6               Exclusion of time to complete sentencing is not required.
 7
 8   Dated: July 14, 2009                                            By: /s/ Carol Ann Moses
                                                                            CAROL ANN MOSES
 9                                                                          Attorney for Defendant
                                                                            JAIME LEON ZAMORA
10
11   Dated: July 14, 2009                                            By: /s/ Mark Cullers
                                                                            MARK CULLERS
12                                                                          Chief Assistant U.S. Attorney
                                                                            Attorney for Plaintiff
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                                 Good cause exists for the agreed-upon stipulated continuance.
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                                                         IT IS SO ORDERED.
24
                         Dated:            July 14, 2009      /s/ Lawrence J. O'Neill
25                                          b9ed48UNITED STATES DISTRICT JUDGE
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     SC HED U LE & HEAR IN G ; [PR O PO SED ] O R D ER           2
